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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

STEPHEN WASHINGTON,

               Petitioner,
       v.                                             CASE NO. 2:05-cv-160
                                                      CRIM. NO. 2:97-cr-99
                                                      JUDGE GRAHAM
                                                      MAGISTRATE JUDGE KING
UNITED STATES OF AMERICA,

               Respondent.

                                       ORDER
                             REPORT AND RECOMMENDATION

       Petitioner, a federal prisoner, has filed a motion to vacate, set aside, or correct his sentence

pursuant to 28 U.S.C. §2255. This matter is before the Court on the instant motion, respondent’s

return of writ, petitioner’s motion to amend the petition, respondent’s response in opposition, and

the exhibits of the parties. For the reasons that follow, the Magistrate Judge DENIES petitioner’s

motion to amend the petition, Doc. No. 749, and RECOMMENDS that this action be DISMISSED.



                         I. FACTS AND PROCEDURAL HISTORY

       The United States Court of Appeals for the Sixth Circuit summarized the facts of this case

as follows:

               On October 14, 1997, as part of a 154-count indictment covering
               eight individuals, Washington was charged with one count of
               conspiracy to distribute and possess with intent to distribute crack
               cocaine, 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(iii); two counts of
               possession with intent to distribute crack cocaine, id.; three counts of
               distribution of crack cocaine, 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C),
               and 841(b)(1)(B)(iii); and one count of use or carrying of a firearm
               during a drug-trafficking crime, 18 U.S.C. § 924(c). At trial, several
               of Washington's associates testified pursuant to agreements with the
               Government. Lee Gill, the admitted ringleader of the organization
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              known as the "G.I. Boys" (G.I. standing for Gary, Indiana, the
              hometown of most of the organization's members), testified that the
              G.I. Boys distributed cocaine in both crack and powder form. Gill
              supplied the cocaine to Washington in quantities ranging from one-
              eighth to one-half of a kilogram, four to five times per month. Gill
              further testified that he considered Washington to be his "right-hand
              man," and Washington's status as Gill's approximate coequal was also
              acknowledged at trial by G.I. Boys' members Anthony Williams
              (Washington was Gill's "right-hand man") and Mark Hunter
              (Washington and Gill were "together"). Washington disputed their
              testimony, asserting that his involvement in the distribution of
              cocaine was the result of violent threats from Gill.

              The evidence further established the use of firearms by the G.I. Boys
              generally, and by Washington specifically. Gill and Williams testified
              that all members of the G.I. Boys carried guns-whether or not they
              were carrying drugs-for protection against, as Gill explained, "[o]ther
              drug sellers, other people we had a beef within the city, Detroit boys,
              Columbus boys," and also that, because of their reputation for violent
              retaliation, the G.I. Boys were rarely challenged by rivals. Gill,
              Williams, as well as Angelique McKinley, Washington's girlfriend,
              and William Welch, the government's confidential informant, also
              testified that Washington carried a gun most or all of the time.

              Finally, witnesses testified about several specific drug transactions,
              two of which are relevant to Washington's appeal. First, both Gill and
              Welch testified about a transaction that took place on July 31, 1996-
              also captured in part on videotape-in which Gill gave Washington an
              ounce of cocaine. An obstruction, however, prevented the videotape
              from capturing the exchange of the drugs. Second, Welch testified
              about a transaction between Washington and undercover DEA Agent
              Rodney Russell, which took place on August 7, 1996 at Welch's
              apartment. After Russell left the apartment, Washington immediately
              pulled a gun from his pants pocket.

              On September 20, 2001, Washington was convicted on all seven
              counts. On May 23, 2002, the district court sentenced Washington
              within the range specified by the U.S. Sentencing Guidelines, and
              also imposed a three-level sentencing enhancement after concluding
              that Washington played a supervisory role in the offense.


United States v. Washington, 83 Fed.App. 43, unpublished, 2003 WL 22905303 (6th Cir. November

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24, 2003). Petitioner was sentenced to an aggregate term of 420 months incarceration plus five

years supervised release. Doc. No. 651. Petitioner pursued an appeal, in which he asserted as

follows:

               (1) several of his convictions were insufficiently supported by the
               evidentiary record; and (2) his sentence was improperly enhanced
               on the basis of his supervisory role in the drug conspiracy.


Id. On November 24, 2003, the United States Court of Appeals for the Sixth Circuit affirmed

petitioner’s convictions and sentence. Id.

       On February 22, 2005, petitioner filed the instant pro se motion to vacate, set aside, or

correct his sentence pursuant to 28 U.S.C. §2255. He asserts as follows

               1. Trial counsel was ineffective for failing to file a Rule 29 motion
               at the end of the trial.


               2. Movant’s Sixth Amendment right was violated when jury did not
               decide amount of drugs attributed to movant.


               3. Movant’s Sixth Amendment right was violated when jury did not
               determine the 3 level enhancement for manager or supervisor.


               4. Movant was denied due process when the judge did not have
               evidence to determine the specific amount of drugs that should be
               attributed to movant in the conspiracy.


It is the position of the respondent that these claims are either procedurally defaulted or without

merit. On January 3, 2006, petitioner filed a motion to amend his §2255 petition to include the

following additional ineffective assistance of counsel claims:

               5. Counsel failed to object to the judge’s untimely instruction to the
               jury when the jury demonstrated reasonable doubt to convict the

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               defendant on §924(c) count by the question jury asked during
               deliberations.


               6. Counsel failed to object to juror Jones’ service on the jury when
               it was evident she was familiar with a law enforcement agent
               involved with this case and had contact with the agent during
               pendency of the proceedings.


Motion to Amend, Doc. No. 749. It is the position of the respondent that petitioner’s request to

amend his 2255 petition with additional new claims should be denied as untimely. Response in

Opposition, Doc. No. 753.

                                  II. MOTION TO AMEND

       28 U.S.C. §2255 imposes a one year statute of limitations on the filing of federal habeas

corpus petitions:

               A 1-year period of limitation shall apply to a motion under this
               section. The limitation period shall run from the latest of--

               (1) the date on which the judgment of conviction becomes final;

               (2) the date on which the impediment to making a motion created by
               governmental action in violation of the Constitution or laws of the
               United States is removed, if the movant was prevented from making
               a motion by such governmental action;

               (3) the date on which the right asserted was initially recognized by
               the Supreme Court, if that right has been newly recognized by the
               Supreme Court and made retroactively applicable to cases on
               collateral review; or

               (4) the date on which the facts supporting the claim or claims
               presented could have been discovered through the exercise of due
               diligence.

Id.

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       Petitioner’s conviction became final on February 22, 2004, i.e., ninety days after the United

States Court of Appeals for the Sixth Circuit dismissed his appeal, when the time period expired to

file a petition for a writ of certiorari to the United States Supreme Court. See Clay v. United States,

537 U.S. 522, 527 (2003). The statute of limitations expired one year later, on February 22, 2005.

Therefore, although the instant habeas corpus petition, signed on February 17, 2005, and filed on

February 22, 2005, is timely, any new claims presented by petitioner in his January 3, 2006, motion

to amend the petition are time-barred unless such claims “relate back” to the date the initial petition

was filed under Federal Rule of Civil Procedure 15. See Mayle v. Felix, 125 S.Ct. 2562 (2005).




       Rule 15 of the Federal Rules of Civil Procedure governs amendments to federal habeas

corpus actions. See 28 U.S.C. §2242 ¶3 (stating that habeas corpus actions “may be amended or

supplemented as provided in the rules of procedure applicable to civil actions”); Hodges v. Rose,

570 F.2d 643, 649 (6th Cir. 1978). The rule provides in relevant part as follows:

               (a) Amendments. A party may amend the party's pleading once as a
               matter of course at any time before a responsive pleading is served or,
               if the pleading is one to which no responsive pleading is permitted
               and the action has not been placed upon the trial calendar, the party
               may so amend it at any time within 20 days after it is served.
               Otherwise a party may amend the party's pleading only by leave of
               court or by written consent of the adverse party; and leave shall be
               freely given when justice so requires.


               ***


               (c) Relation Back of Amendments. An amendment of a pleading
               relates back to the date of the original pleading when


               (1) relation back is permitted by the law that provides the statute of

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               limitations applicable to the action, or


               (2) the claim or defense asserted in the amended pleading arose out
               of the conduct, transaction, or occurrence set forth or attempted to be
               set forth in the original pleading....


Federal Rule of Civil Procedure 15. The rule promotes a “liberal policy of permitting amendments

to ensure the determination of claims on their merits.” Marks v. Shell Oil Co., 830 F.2d 68, 69 (6th

Cir.1987) (quoting Tefft v. Seward, 689 F.2d 637, 639 (6th Cir.1982)).

               In the absence of any apparent or declared reason--such as undue
               delay, bad faith or dilatory motive on the part of the movant, repeated
               failure to cure deficiencies by amendments previously allowed, undue
               prejudice to the opposing party by virtue of allowance of the
               amendment, futility of amendment, etc.--the leave sought should, as
               the rules require, be 'freely given.' Of course, the grant or denial of an
               opportunity to amend is within the discretion of the District Court,
               but outright refusal to grant the leave without any justifying reason
               appearing for the denial is not an exercise of discretion; it is merely
               abuse of that discretion and inconsistent with the spirit of the Federal
               Rules.


Foman v. Davis, 371 U.S. 178, 182 (1962); see also Coe v. Bell, 161 F.3d 320, 341-42 (6th Cir.

1998)(quoting Brooks v. Celeste, 39 F.3d 125, 130 (6th Cir. 1994). Further,

               [d]elay by itself is not sufficient reason to deny a motion to amend.
               Notice and substantial prejudice to the opposing party are critical
               factors in determining whether an amendment should be granted.


Coe v. Bell, supra, 161 F.3d at 342. A district court’s decision whether to grant a motion to amend

the petition pursuant to Federal Rule of Civil Procedure 15(a) generally is reviewed for an abuse of

discretion; however, where the denial is based upon futility, such denial may be reviewed de novo.

Parry v. Mohawk Motors of Michigan, Inc., 236 F.3d 299, 305 (6th Cir. 2001).



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       In Mayle v. Felix, supra, 125 S.Ct. at 2562, the United States Supreme Court clarified the

circumstances under which a habeas corpus petition might be amended to assert new claims. In that

case, the petitioner initially asserted that he had been denied his right to confront witnesses by

admission at trial of tape recorded statements of a prosecution witness. The petitioner later attempted

to amend his petition to include a claim that he also had been denied a fair trial by admission of his

own statements to police which, he alleged, had been coerced. See id. The Court of Appeals

permitted the amendment to the petition, and the Supreme Court reversed, holding:

               An amended habeas petition... does not relate back (and thereby
               escape AEDPA's one-year time limit) when it asserts a new ground for
               relief supported by facts that differ in both time and type from those
               the original pleading set forth.


Id. The Supreme Court reasoned:


               The Civil Rule governing pleading amendments, Federal Rule of Civil
               Procedure 15, made applicable to habeas proceedings by § 2242,
               Federal Rule of Civil Procedure 81(a)(2), and Habeas Corpus Rule 11,
               allows pleading amendments with "leave of court" any time during a
               proceeding. See Fed. Rule Civ. Proc. 15(a). Before a responsive
               pleading is served, pleadings may be amended once as a "matter of
               course," i.e., without seeking court leave. Ibid. Amendments made
               after the statute of limitations has run relate back to the date of the
               original pleading if the original and amended pleadings "ar[i]se out of
               the conduct, transaction, or occurrence." Rule 15(c)(2).


               The "original pleading" to which Rule 15 refers is the complaint in an
               ordinary civil case, and the petition in a habeas proceeding. Under
               Rule 8(a), applicable to ordinary civil proceedings, a complaint need
               only provide "fair notice of what the plaintiff's claim is and the
               grounds upon which it rests." Conley v. Gibson, 355 U.S. 41, 47, 78
               S.Ct. 99, 2 L.Ed.2d 80 (1957). Habeas Corpus Rule 2(c) is more
               demanding. It provides that the petition must "specify all the grounds
               for relief available to the petitioner" and "state the facts supporting
               each ground." See also Advisory Committee's Note on subd. (c) of
               Habeas Corpus Rule 2, 28 U.S.C., p. 469 ("In the past, petitions have

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            frequently contained mere conclusions of law, unsupported by any
            facts. [But] it is the relationship of the facts to the claim asserted that
            is important ... ."); Advisory Committee's Note on Habeas Corpus Rule
            4, 28 U.S.C., p. 471 (" '[N]otice' pleading is not sufficient, for the
            petition is expected to state facts that point to a real possibility of
            constitutional error." (internal quotation marks omitted)). Accordingly,
            the model form available to aid prisoners in filing their habeas
            petitions instructs in boldface:


            "CAUTION: You must include in this petition all the grounds for
            relief from the conviction or sentence that you challenge. And you
            must state the facts that support each ground. If you fail to set forth all
            the grounds in this petition, you may be barred from presenting
            additional grounds at a later date." Petition for Relief From a
            Conviction or Sentence By a Person in State Custody, Habeas Corpus
            Rules, Forms App. (emphasis in original).


            A prime purpose of Rule 2(c)'s demand that habeas petitioners plead
            with particularity is to assist the district court in determining whether
            the State should be ordered to "show cause why the writ should not be
            granted." § 2243. Under Habeas Corpus Rule 4, if "it plainly appears
            from the petition ... that the petitioner is not entitled to relief in district
            court," the court must summarily dismiss the petition without ordering
            a responsive pleading. If the court orders the State to file an answer,
            that pleading must "address the allegations in the petition." Rule 5.


            ***


            Congress enacted AEDPA to advance the finality of criminal
            convictions. See Rhines v. Weber, 544 U.S. ----, ----, 125 S.Ct. 1528,
            1534, 161 L.Ed.2d 440 (2005). To that end, it adopted a tight time
            line, a one-year limitation period ordinarily running from "the date on
            which the judgment became final by the conclusion of direct review
            or the expiration of the time for seeking such review," 28 U.S.C. §
            2244(d)(1)(A). If claims asserted after the one-year period could be
            revived simply because they relate to the same trial, conviction, or
            sentence as a timely filed claim, AEDPA's limitation period would
            have slim significance.... The very purpose of Rule 15(c)(2), as the
            dissent notes, is to "qualify a statute of limitations." Post, at ----2. But
            "qualify" does not mean repeal. See Fuller v. Marx, 724 F.2d 717, 720
            (C.A.8 1984). Given AEDPA's "finality" and "federalism" concerns,

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               see Williams v. Taylor, 529 U.S. 420, 436, 120 S.Ct. 1479, 146
               L.Ed.2d 435 (2000); Hicks, 283 F.3d, at 389, it would be anomalous
               to allow relation back under Rule 15(c)(2) based on a broader reading
               of the words "conduct, transaction, or occurrence" in federal habeas
               proceedings than in ordinary civil litigation, see supra, at --- -
               ----10-12.


               ***


               ... So long as the original and amended petitions state claims that are
               tied to a common core of operative facts, relation back will be in
               order.... Our reading is consistent with the general application of Rule
               15(c)(2) in civil cases... with Habeas Corpus Rule 2(c)... and with
               AEDPA's installation of a tight time line for § 2254 petitions....


Id. (Citations and footnotes omitted.) In a footnote, the Supreme Court gave examples of claims “tied

to a common core of operative facts” that would relate back to the original filing:

               For example, in Mandacina v. United States, 328 F.3d 995, 1000-1001
               (C.A.8 2003), the original petition alleged violations of Brady v.
               Maryland, 373 U.S. 83, 83 S.Ct. 1194, 10 L.Ed.2d 215 (1963), while
               the amended petition alleged the Government's failure to disclose a
               particular report. Both pleadings related to evidence obtained at the
               same time by the same police department. The Court of Appeals
               approved relation back. And in Woodward v. Williams, 263 F.3d 1135,
               1142 (C.A.10 2001), the appeals court upheld relation back where the
               original petition challenged the trial court's admission of recanted
               statements, while the amended petition challenged the court's refusal
               to allow the defendant to show that the statements had been recanted.
               See also 3 J. Moore, et al., Moore's Federal Practice § 15.19[2], p.
               15-82 (3d ed. 2004) (relation back ordinarily allowed "when the new
               claim is based on the same facts as the original pleading and only
               changes the legal theory").


Mayle v. Felix, supra, 125 S.Ct. at 2575 n.7.

        In his initial petition, petitioner asserted that he was denied the effective assistance of counsel

because his attorney failed to move for a judgment of acquittal, that he was denied his right to a jury


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trial in connection with the determination of the amount of drugs that should be attributed to him for

sentencing purposes and of whether his sentence should be enhanced for his role as supervisor or

manager, and that there was insufficient evidence to support the quantity of drugs attributed to him

for purposes of sentencing. Petition. Petitioner’s motion to amend the petition seeks to assert claims

of ineffective assistance of counsel due to his attorney’s failure to object to jury instructions issued

in response to a jury question, and due to his failure to object to a particular juror. Motion to Amend.

Both new claims raise issues that differ in time and type from the allegations presented in petitioner’s

initial §2255 petition.

                As the Supreme Court recently made crystal clear, see Mayle, 125
                S.Ct. at 2570, a petitioner does not satisfy the Rule 15 “relation back”
                standard merely by raising some type of ineffective assistance in the
                original petition, and then amending the petition to assert another
                ineffective assistance claim based upon an entirely distinct type of
                attorney misfeasance. See, e.g., Davenport v. United States, 217 F.3d
                1341, 1346 (11th Cir. 2000); Duffus, 174 F.3d at 337.


United States v. Ciampi, 419 F.3d 20, 24 (1st Cir. 2005)(footnote omitted); see also McClean v.

United States, unpublished, 2005 WL 2172198 (11th Cir. September 8, 2005)(untimely claims of

ineffective assistance of counsel due to attorney’s failure to show defendant a videotape of the drug

transaction and its effect on plea negotiations do not relate back to ineffective assistance of counsel

for failing to prepare adequately for trial).

        The claims of ineffective assistance of counsel raised by petitioner in his request to amend

the petition do not arise out of the same “common core of operative facts,” as the claims presented

in petitioner’s initial and timely §2255 petition. See Mayle v. Felix, supra. The Court therefore

concludes that the ineffective assistance of counsel claims raised in petitioner’s request to amend the

petition -- filed after the lapse of the applicable statute of limitations -- do not relate back to his initial

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timely claims. Petitioner’s motion to amend the petition, Doc. No. 749, is therefore DENIED.

                                        III. CLAIM ONE

       In claim one of the original petition, petitioner asserts that he was denied the effective

assistance of counsel because his attorney failed to move for a judgment of acquittal1 based upon

insufficient evidence on count 23, which charged him with possession with intent to distribute over

five grams of crack cocaine, and thereby failed to preserve the issue of insufficiency of evidence for

appellate review. This claim is plainly without merit.

       The right to counsel guaranteed by the Sixth Amendment is the right to the effective

assistance of counsel. McMann v. Richardson, 397 U.S. 759, 771 n.14 (1970). The standard for

reviewing a claim of ineffective assistance of counsel is twofold:

                First, the defendant must show that counsel’s performance was
                deficient. This requires showing that counsel made errors so serious
                that counsel was not functioning as the "counsel" guaranteed the


        1
            Federal Rule of Criminal Procedure 29 provides in relevant part:

        (a) Before Submission to the Jury. After the government closes its evidence or
        after the close of all the evidence, the court on the defendant's motion must enter a
        judgment of acquittal of any offense for which the evidence is insufficient to
        sustain a conviction. The court may on its own consider whether the evidence is
        insufficient to sustain a conviction. If the court denies a motion for a judgment of
        acquittal at the close of the government's evidence, the defendant may offer
        evidence without having reserved the right to do so.

        (b) Reserving Decision. The court may reserve decision on the motion, proceed
        with the trial (where the motion is made before the close of all the evidence),
        submit the case to the jury, and decide the motion either before the jury returns a
        verdict or after it returns a verdict of guilty or is discharged without having
        returned a verdict. If the court reserves decision, it must decide the motion on the
        basis of the evidence at the time the ruling was reserved.



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                defendant by the Sixth Amendment. Second, the defendant must show
                that the deficient performance prejudiced the defense. This requires
                showing that counsel’s errors were so serious as to deprive the
                defendant of a fair trial, a trial whose result is reliable.

Strickland v. Washington, 466 U.S. 668, 687 (1984); see also Blackburn v. Foltz, 828 F.2d 1177 (6th

Cir. 1987). "Because of the difficulties inherent in making the evaluation, a court must indulge a

strong presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance; that is, the defendant must overcome the presumption that, under the circumstances, the

challenged action might be considered sound trial strategy." Strickland, at 689.

        To establish prejudice, it must be shown that there is a reasonable probability that, but for

counsel’s errors, the result of the proceedings would have been different. Strickland, at 694. "A

reasonable probability is a probability sufficient to undermine confidence in the outcome." Id.

Because petitioner must satisfy both prongs of the Strickland test to demonstrate ineffective

assistance, if the Court determines that petitioner has failed to satisfy one prong, it need not consider

the other. Id. at 697.

        Petitioner argued on direct appeal that there was insufficient evidence to sustain his

conviction on Count 23. The United States Court of Appeals for the Sixth Circuit noted that the

claim had been waived because trial counsel failed to move for a judgment of acquittal, but

nonetheless concluded that the claim was without merit:

                Washington contends that there was insufficient evidence to convict
                him on Count 23 of the Indictment, which charged him with
                possessing with intent to distribute over five grams of crack cocaine
                on July 31, 1996. The Government again correctly notes that
                Washington waived this argument by not moving for a Rule 29
                judgment of acquittal, and that as a result the proper standard of
                review is plain error. In any event, both Gill and Welch testified that
                Washington took possession of the drugs in the transaction that was

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                videotaped on July 31, 1996. Viewing the evidence in the light most
                favorable to the Government, we must credit the testimony offered by
                Gill and Welch. Upon doing so, we easily conclude that there was
                sufficient evidence to support a conviction under Count 23.


United States v. Washington, supra. In view of the foregoing, petitioner cannot establish the

ineffective assistance of counsel under Strickland. Claim one is without merit.

                                  IV. CLAIMS TWO AND THREE

        In claim two, petitioner asserts that was denied his right to a jury trial because it was the trial

judge, not the jury, who determined the quantity of drugs attributable to him for sentencing purposes

and who enhanced petitioner’s sentence under the United States Sentencing Guidelines based upon

his supervisory role. Petitioner asserts that his sentence therefore violates Blakely v.Washington, 542

U.S. 296 (2004), and United States v. Booker, 543 U.S. 220 (2005).

        As previously discussed, however, petitioner’s conviction became final on February 22, 2004,

long before the United States Supreme Court’s June 24, 2004, decision in Blakely, or its January 12,

2005, decision in Booker. Further, the United States Court of Appeals for the Sixth Circuit has held

that neither Blakely nor Booker apply retroactively to cases on collateral review. Humphress v.

United States, 398 F.3d 855, 860 (6th Cir. 2005). Therefore, Blakely and Booker do not provide

petitioner the relief he seeks.

        Claims two and three are without merit.




                                          V. CLAIM FOUR

        In claim four, petitioner asserts that he was denied due process because the judge


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                based his calculation of the drug amount that should have been
                attributed to [petitioner] on the statements and testimony of [the]
                government’s informant Lee Gill, who was the leader of the alleged
                conspiracy.... The amount of drugs attributed to [petitioner] was never
                proved to be physically possessed by him. The District Court relied
                on just the words of Mr. Gill.


See Petition. As noted by respondent, this claim should have been raised on direct appeal, but was

not. Therefore, petitioner must demonstrate “cause” for his failure to raise such claim on direct

appeal, as well as “actual prejudice” resulting from the error before he may present the claim on

federal habeas corpus review. See United States v. Frady, 456 U.S. 152, 165 (1982). See also

Murray v. Carrier, 477 U.S. 478, 485 (1986).

        As cause for his procedural default of claim four, the Court assumes that petitioner would

argue the ineffective assistance of appellate counsel in failing to present this claim on appeal.

“Attorney error may constitute cause if it rises to the level of constitutionally ineffective assistance

of counsel.” Barrow v. United States, 8 Fed.Appx. 286, unpublished, 2001 WL 278676 (6th Cir.

March 13, 2001), citing Rust v. Zent, 17 F.3d 155, 161 (6th Cir.1994).

        The Strickland test applies to appellate counsel. Burger v. Kemp, 483 U.S. 776 (1987).

Counsel must provide reasonable professional judgment in presenting the appeal. Evitts v. Lucey,

469 U.S. 387, 396-97 (1985). “‘[W]innowing out weaker arguments on appeal and focusing on’

those more likely to prevail, far from being evidence of incompetence, is the hallmark of effective

appellate advocacy.” Smith v. Murray, 477 U.S. 527, 536 (1986)(quoting Jones v. Barnes, 463 U.S.

745, 751-52 (1983)). Petitioner has failed establish the ineffective assistance of counsel for failing

to raise this issue on appeal under the test set forth in Strickland.

                The district court's findings of fact concerning the amount of drugs

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               attributable to the defendant must be accepted by [the Court of
               Appeals] unless clearly erroneous. See United States v. Ward, 68 F.3d
               146, 149 (6th Cir.1995). The district court must set forth the evidence
               upon which it relies and make specific findings that are supported by
               a preponderance of the evidence. See United States v. Baro, 15 F.3d
               563, 569 (6th Cir.1994). When the amount of drugs is uncertain, the
               district court must "err on the side of caution" to ensure that a
               defendant is actually more than likely responsible for a quantity
               greater than or equal to the amount used in the calculation. See United
               States v. Ferguson, 23 F.3d 135, 142 (6th Cir.1994).


United States v. Long, 190 F.3d 471, 478 (6th Cir. 1999). Defense counsel objected to the quantity

of drugs attributed to petitioner in the Presentence Investigation Report.         See Presentence

Investigation Report, ¶54; Objections to Presentence Investigation Report. The Presentence

Investigation Report attributed to petitioner 1,500 grams of crack cocaine and five kilograms of

powder cocaine, equivalent to 31,000 kilograms of marijuana, which corresponded to a base offense

level of 38. See id. At sentencing, the Court attributed to petitioner 750 grams of crack cocaine and

1500 grams of powder cocaine, equivalent to 15,300 kilograms of marijuana, which corresponded

to a base offense level of 36:

               [COURT]: Counsel, I have reviewed all of the evidence relating to the
               quantity of drugs that Mr. Washington was involved with during the
               period of the conspiracy, and I have looked at the testimony of Mr.
               Gill in particular, and I believe that Gill’s testimony is generally
               credible, and I have decided in fairness to Mr. Washington that we
               should take the most conservative approach possible in calculating
               these quantities.


               Now, just as a general proposition, Gill testified that he supplied Mr.
               Washington with one-eighth to one-and-a-half kilos of cocaine,
               sometimes crack, sometimes powder, at the rate of four to five times
               per month at various times in 1996 and 1997.


               Now, Gill had been incarcerated in early 1996, and when he was
               released, returned to Columbus and resumed his drug-dealing

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            activities and resumed his relationship with Mr. Washington, but
            according to Gill’s testimony, he was not completely back up to speed.
            In his words – in other words, the volume of his drug dealing hadn’t
            gotten back to its maximum level until July or September of 1996, and
            from that point on until Mr. Gill was arrested in early October of
            1997, he was actively involved, and during most of that time, Mr.
            Washington was assisting him. There are certain periods that we
            know Mr. Washington was not assisting him and other periods where
            it’s not clear, but again taking the conservative approach, here is the
            scenario that I believe is supported by the evidence construed most
            favorably to Mr. Washington.


            Again, taking the most conservative estimate from Mr. Gill’s
            testimony, we will start with September of 1996, and we would have
            three weeks of activity during the month of September. At that point
            Mr. Washington was arrested and he was confined in the Franklin
            County jail for awhile, and then later transferred to a community
            treatment facility in which he had some degree of freedom. And I
            think it’s very likely that he utilized that relative freedom of the
            community treatment facility to resume his drug-dealing activities
            with Mr. Gill. But assuming he didn’t... we will exclude the last week
            of September, exclude the whole month of October and November.


            And then we have the testimony that Mr. Gill and Mr. Washington had
            a disagreement when Mr. Gill turned the business over to Mr.
            Washington in late 1996 to attend a funeral back in Indiana. When he
            came back, Mr. Washington didn’t have the money he should have
            had and they had a disagreement. I don’t know how many weeks in
            late 1996 Mr. Washington was dealing, we will just exclude the whole
            period until April because Mr. Washington was incarcerated in the
            early part of 1997 and was released....I am excluding the period of
            January, February and March, assuming that’s the time of the falling
            out that occurred in late 1996.


            We know that Mr. Washington absconded from the community
            treatment facility on December 20. Mr. Gill’s estimate of the period
            of the fall-out was two to three months, and again, taking the most
            conservative approach, we will say it was three months. So that
            covers the period from January through the end of March.


            Mr. Washington would have been back in business then under that

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            scenario for the month of April. He was arrested at the end of the
            month of April and was then incarcerated for the next 70 days and was
            released the first week of July.


            So, again, taking the conservative approach, we will say he was back
            in business for only three weeks in July, and then continued for the
            months of August and September.


            Mr. Gill was arrested on October 4th, and obviously would have ceased
            supplying Mr. Washington then.


            Now, taking the most conservative estimate of the amount of drugs
            that Mr. Gill supplied Mr. Washington with, he said anywhere from
            an eighth to a half kilo on each delivery, and we will take the lowest,
            that would be one eighth of a kilo. And he said four to five times per
            month, so we will take the lowest, that would be four. If we take Mr.
            Gill’s lowest estimates of quantities and frequency, we have an eighth
            of a kilogram four times a month or a kilogram a week during periods
            of activity. On that basis, we would have 375 in the month of
            September of ‘96; we would have 500 grams during the month of
            April of ‘97; we would have 375 grams during the month of July of
            ‘97, and 500 each during the months of August and September of
            1997. That would be a total of 2,250 grams.


            Mr. Gill said sometimes it was crack that he supplied and sometimes
            it was powder... and I think the evidence is quite clear – that the
            dealing here was in crack cocaine, and... Mr. Washington would
            convert whatever powder cocaine he received into crack cocaine. But,
            again, taking the most favorable view of the evidence as the most
            favorable to Mr. Washington, the Court is going to estimate that the
            amount of crack cocaine was 750 grams and that the amount of
            powder cocaine was 1500 grams, even though I think that the Court
            could reasonably find that all of it should be counted as crack because
            it was all converted into crack.


            ***


            The Court finds that those quantities are well supported by the
            evidence in this case, and the Court believes that they are a very
            conservative calculation of the amount of cocaine that Mr.

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                Washington was involved in distributing during the time of this
                conspiracy.


                ***


                [PROBATION OFFICER]: ... 750 grams of crack converts to 15,000
                grams of marijuana equivalency, and the 1,500 grams of cocaine
                powder convert to 300 kilograms of marijuana equivalency for a total
                of 15, 300 kilograms of marijuana equivalency.


Sentencing Transcript, at 30-35.

        Contrary to petitioner’s argument, the record fails to reflect that the Court’s determination of

the quantity of drugs that should be attributed to petitioner was improper or erroneous. Petitioner has

failed to establish the ineffective assistance of counsel due to his attorney’s failure to raise such issue

on appeal. Petitioner has likewise failed to establish cause or prejudice for his procedural default of

claim four.

                                                  VI.

        For the foregoing reasons, the Court DENIES petitioner’s motion to amend the petition, Doc.

No. 749, and RECOMMENDS that the petitioner’s motion to vacate, set aside, or correct sentence

pursuant to 28 U.S.C. §2255 be DISMISSED.

      If any party objects to this Report and Recommendation, that party may, within ten (10) days

of the date of this Report, file and serve on all parties written objections to those specific proposed

findings or recommendations to which objection is made, together with supporting authority for the

objection(s). A judge of this Court shall make a de novo determination of those portions of the report

or specified proposed findings or recommendations to which objection is made. Upon proper



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objections, a judge of this Court may accept, reject, or modify, in whole or in part, the findings or

recommendations made herein, may receive further evidence or may recommit this matter to the

magistrate judge with instructions. 28 U.S.C. 636(b)(1).

       The parties are specifically advised that failure to object to the Report and Recommendation

will result in a waiver of the right to have the district judge review the Report and Recommendation

de novo, and also operates as a waiver of the right to appeal the decision of the District Court

adopting the Report and Recommendation. See Thomas v. Arn, 474 U.S. 140 (1985); United States

v. Walters, 638 F.2d 947 (6th Cir. 1981).



April 18, 2006                                               s/Norah McCann King
                                                               Norah McCann King
                                                         United States Magistrate Judge




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